                HIGHLY CONFIDENTIAL-ATTORNEYS
     Case 4:19-cv-07123-PJH Document 133-4 FiledEYES ONLY Page 1 of 3
                                                 09/02/20




      JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
       jakro@kslaw.com
 2    AARONS. CRAIG (Bar No. 204741)
       acraig@kslaw.com
 3    KING & SPALDING LLP
      633 West Fifth Street, Suite 1700
 4    Los Angeles, CA 90071
      Telephone:    (213)443-4355
 5    Facsimile:    (213)443-4310
 6 Attorneys for Defendants NSO GROUP TECHNOLOGIES
   LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                              UNITED STATES DISTRICT COURT
 8
 9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                            OAKLAND DIVISION

11 WHATSAPP INC., a Delaware corporation,             Case No. 4:19-cv-07123-PJH
   and FAC'EBOOK, INC., a Delaware
12 corporation,                                       DECLARATION OF ROY BLECHER
13                    Plaintiffs,                     Ctnn: 3
                                                      Judge: Hon. Phyllis J. Hamilton
14            V.
                                                      Action Filed: l 0/29/2019
15 NSO GROUP TECHNOLOGIES LIMITED
   and Q CYRER TECHNOLOGIES LIMITED,
16
17            Defendants.
                                                       REDACTED VERSION OF DOCUMENT
18                                                     SOUGHT TO BE SEALED

19
20
21
22
23
24
25
26
27
28

       DECLARATION OF ROY BLECHER                                          Case No. 4: 19-cv-07123-PJH
      WORKAMER\29873\825002\37337379. v l-8f2/20
                   HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY
Case 4:19-cv-07123-PJH Document 133-4 Filed 09/02/20 Page 2 of 3
Case 4:19-cv-07123-PJH Document 133-4 Filed 09/02/20 Page 3 of 3
